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        Exhibit A
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Brooklyn, N.Y
11212

Dear Judge Furman,

My name is Amsher Terlonge and I am Sakoya Blackwood’s Sister.
Sakoya and I grew up together in Jamaica and we had a great bond, our relationship with each
other is matchless, she is a kind, Loving, reserved person. She migrated at age fourteen to the
United States of America and it was very painful to watch her leave.

When she was living in Jamaica whenever I make decisions I always make her the forefront of
same because of her consciousness and her ability to give good advise, she is a great Aunt to my
Children, someone who they look up to, because she always remind them the importance of
education and must be successful in order to fulfill their aspiring dreams.

My Children and I admire the way how she raise her Daughter, always telling her the
importance of being honest and she must be kind, loving and forgiving.

Whenever my Kids and I visits her Daughter in the Bronx, she stays In her Mom’s room , we try
desperately to have a conversation with her, but she always breaks down crying, because she so
missing her Mom.

Her Daughter        will be celebrating her thirteenth birthday on        and her on          .I
can just imagine how happy they both will be, if she is being sent home to her Daughter, this
would be an unforgettable birthday for them both. My Mom has been greatly saddened and also
being impacted, she mostly work at nights and cannot do so, because she have been home with
her granddaughter.

I am pleading to you on her behalf, to be lenient in handing down your final judgment, I know if
she is given the opportunity to be released from her incarceration, she will be a great asset to the
United State of America.


Yours sincerely,
Amsher Terlonge.
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Bronx, N. Y. 10466

Dear Judge Furman,

Good day to you. I am Arlene Rowe, Sakoya Blackwood’s Mom. Judge with all due respect, I am writing
to you , to give you a full perspective of Sakoya. Sakoya is my third Child and was brought up in Jamaica
by her Dad Ronel Blackwood and I , until she migrated to the United States of America at age fourteen.

Sakoya attended the Evander Childs’ High School in the Bronx and was a very brilliant Student, she
always maintain high scores in her grades and was a honor role Student, at one point she was even
featured in one of the Papers here, she sustained her high grades thus got high marks in her SAT.
Sakoya wanted to pursue a profession as a Cardiologist, but due to lack of financing , she was unable to
fulfill her dreams.

Sakoya grew up with her Cousins whom she shows unconditional love and kindness. Her Dad regrettably
pass in 2017 and she has been saddened and living with regrets , because he didn’t get to know her
Daughter, neither did she get to see him again, because she hasn’t returned home since migrating here .
She is a loving, kind, honest, forgiving person, one who would always be giving food to Homeless on the
Trains, Subways or on the Streets on her daily trips , while accompanying her Daughter to and from
School.

She gives unconditional love to her Daughter , she makes sure prepares her favorite meals , she would
kiss her numerous times for the day, she would hug her facing her at the Subway every morning kissing
her and expressing her undying love for her, while waiting for the Trains. She grew her Daughter
exceptionally well, instills in her love, honesty and kindness and to never , ever lie no matter what’s the
situation. She always make sure she does her homework and reminds her constantly to exercise proper
hygiene .

Sakoya being away has impacted me badly, I have lost my job since last October due to the stress her
absence dumped on me, causing me to not being focus while on the job, I have gotten job offers since
but have to turn them down, because they are all overnight jobs and I cannot leave       all by herself at
nights, on the other hand      has become isolated when at home by locking herself in her Mom’s
room , most times crying. She hardly speaks to me and in the mornings she is very sad , upset , most
times emotional when leaving for School, because her Mom is not the one who is accompanying her,
sometimes she even gets upset and shout at me or don’t talk to me at all, she has become a TOTAL
DIFFERENT CHILD, I too break down and cry regularly, both for my Daughter not being here and         ’s
resentment to me even though I am doing my best for her.

Sir Judge I am pleading to you asking you to please be lenient in your sentencing, please give her a
chance to rehabilitate and become someone that contribute greatness to society.I KNOW SHE WILL BE A
VALUABLE ASSET TO SOCIETY.

Judge Furman , her Brother who recently left to Military Training School , is supportive of her and is
asking to please be lenient in your sentencing.

Yours sincerely,
Arlene Rowe
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Apt.2 F
Brooklyn, N. Y.
11212

 TO WHOM IT MAY CONCERN

  Dear Sir /Madam

  Good day Judge Furman, my name is Beryl Simpson - Mitchell and I am writing on behalf of Sakoya
Shemarie Blackwood.
   I have known Sakoya from she was a baby until now, she is my God -Daughter. She is a humble,
kind, soul, very much respectful and intelligent.
   Sakoya used to help me out at my place of business in Jamaica in the afternoons after leaving School
and also on the weekends, before migrating to the United States at age fourteen. We keep regular
contact by talking on the phone.
 Sakoya is a very ambitious individual and was very anxious to finish High School to attend College, then
University to pursue her career as a Cardiologist, her passion was short lived,she didn’t get to achieve
her goal due to her immigration status and lack of finances, she was saddened and very disappointed.
 Sakoya was brought up by her Mother and Dad in Jamaica who were great Parents, her Dad was an
exceptional Father to her, he was a great Father indeed , sadly he passed in 2017, which brougth her
into sadness, especially since it was a brief illness and they didn’t get a chance to see each other again
after she migrated years ago.

  Sakoya has a close bond with her Daughter and has never been absent from her life, she took her to
School every morning and pick her up in the afternoons.
 Honorable Judge I am taking this opportunity to plead to you, asking to consider leniency in her
sentencing, I know this would be the best birthday gift for both her and her Daughter who will be
celebrating
her thirteenth birthday on

 THANKS.

 Yours Sincerely ,
 Beryl Simpson- Mitchell.
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Queens, Jamaica, N. Y.
11434


TO WHOM IT MAY CONCERN

JUDGE FURMAN

Dear Sir/ Madam

Dear Judge Furman , good afternoon.

My name is Brittany Campbell and I am writing on behalf of my Aunt , Sakoya Blackwood, whom my
siblings and I affectionately call Auntie ‘KOYA’ .

Sakoya is one one the sweetest souls one could ever have for a relative or friend.
We would visit my Grandmother in the Bronx regularly and Auntie ‘KOYA’ would always gives us a warm
welcome , with a laughter and always offering us food , the minute we got there. She was always
accommodating.

One of the attributes I admired about her is the way how she raised her Daughter          and her undying
love for her. She always reminds her to be kind, loving, forgiving and be respectful no matter what age
person she crosses path with. She would kiss and hug her repeatedly , always reminding her not to lie,
no matter the circumstances .

We haven’t seen        since her Mom is in incarceration, because when we visit her home, ( which is my
Grandmother’s Home) which we often do, she locks herself in her Mom’s room, not wanting to speak to
us, we are so heartbroken, seeing what this is doing to her.

My Sister Shauntavia and I are now Mothers and would really love Auntie ‘Koya’, to know our children
and also help in their growing up, to pass on some of those great attributes as a parent to our Children.

I am writing because I have been made aware that as Nieces and Nephews , we can submit a letter ,
pleading of clemency on her behalf, Judge Furman , we are pleading for leniency on her behalf . Our
Uncle who recently left for Military Training School is heartbroken to be leaving not knowing when he
will see her again and reminds us to keep them both in our prayers.

Should she be granted leniency, we are of the firm belief that she will become a profitable member of
society.
I respectfully urge you to grant her leniency in your final deliberation.

THANKS JUDGE.
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Your Sincerely,
Brittany Campbell
Jada Hodges,
Shauntavia Shirley ,
Oneil Phillips,
Lashay Mckenzie,
Malik Mckenzie ,
Jaime, Gianna , Skylar , Jayce.
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Deveene Hamilton



JUNE 1, 2023


Judge Furman.

Dear Sir/ Madam,

My name is Deveene Hamilton, and I am writing this letter in support of my
friend Sakoya Blackwood. I have known Sakoya since 2003 when we met in
our sophomore year of high school. Between Sakoya and I we would be
considered unapproachable because we were never the smiling and talkative
type. With these two factors in place we became the best of friends because
we understood each other. Sakoya is a very quiet and loving person you just
have to get pass the mean look, she is very protective and loyal to those who
she considers loyal to her, she's a very straightforward person and is not afraid
to tell you how she feels or stand her ground in what she believes in.

Sakoya and I maintained our friendship over the years. I even made her the
godmother to my kids. It is safe to say we are more like sisters than best
friends,Sakoya is the type of person you can always count on whether it's for
strength or just a positive word of upliftment she's just that great of a friend.
With all these factors in mind it leads to her being a great mother to her child.
The love she showers onto her child is very pure. You can see it just by the
way they interact with each other, from teaching her how to navigate in these
busy New York streets to helping her with homework and just life itself.

Sakoya used to work in daycare while we were in high school and each one of
those kids loved her even with a mean face so just imagine the love and care
she puts in her one and only child. The need of a child to want her mother
around is unimaginable. To go from seeing her everyday to not being able to
just get a small hug is not something I wish on anyone.          is a very smart
and understanding person her mom made sure of that but no matter how
smart a child is she still misses her mom and cries just like any normal child
and for this reason I would like to ask the Judge to please show some regards
towards Sakoya's child, her being able to be home for her daughter's 13th
birthday which is          would be the best gift for them both, not only will she
be a teen she would also get to celebrate with her mom.



Sincerely,
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Deveene Hamilton.
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5/30/2023



Dear Judge Furman,



       My name is Dulcie Fraser. I am Sakoya’s aunt, and I am writing to you on behalf of my
niece. I am writing to plead that you decide on a favorable sentence for her. I took her in and
helped raise her when she was just 14 years old. I allowed her to live in my home and sent her to
school. It was such a proud moment to see her graduate. I watched her finish high school and go
off into the world on her own. She’s always been very independent, and I relied on her often
when she lived with me. I am begging that you please show her mercy when deciding.


       She’s not a perfect person but I know that she is a good person, a good mother. I believe
that keeping her away from her daughter will not benefit either of them. Sakoya is a devoted
mother. She and her daughter are very close, and I fear that separation of the two would only
negatively affect her. If Sakoya is given leniency, I believe she will not spoil the chance to be
better and make things right. Please give her and this family a chance to make into the woman
she is supposed to be.




Best Regards,
Dulcie Fraser
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FAITH HARRISON FORREST

                   ELTHAM SPANISH TOWN JAMAICA.
May 29 2022

To whom this may concern


I have known SAKOYA BLOCKWOOD for all of her life. This very humble, quiet ,ambitious and soft spoken
girl grew up in my presence even as a teenager. I am yet to see her angry or doing anything out of the
norm. To the best of my knowledge her mom ARLENE ROWE did her very best to raise this beautiful
young woman (Saky).affectionately called by us who are close to her. This is possibly the reason why
ARLENE is so severely affected by this event coupled with the fact that she now is parenting Sakoya's
daughter little. The entire family is traumatized , even Sakoya's brother who is presently in Military
school .He is broken knowing that is dear sister is behind bars. I can remember Sakoya was spending the
day with me , we were at my business place and I mistakenly threw some cash in the carbage bin she
realized what I did and retrieved the money and brought it to me .Sakoya is good person of great
character. Myself her mom and all the family and friends especially little        plead for leniency on her
behalf. Thank you.

Faith Harrison Forrest
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Dear Judge Furman,

My Name is Jermaine Fraser I am Sakoya’s older cousin. My background is I am a private investigator,
Losgistics Manager for BTI Security in the Washington DC area and also the chef and owner of Maine
Course Catering. I am writing this letter praying and hoping this helps the court see what a wonderful
person and mother Sakoya is. Growing up my cousin was sent to America in her early teen years to live
with my mom and sisters in Bronx NY to have a better life because my aunt was struggling in a country
that corrupted politicians control. My cousin attended Evander Child’s High School where she graduated
with a very high GPA and Scored almost a perfect score on the SATs. She took her studies very serious.
While doing all of this Sakoya worked at the day care next door to our house. She started off just
volunteering but was there so long as a volunteer she was offered a position part time. While doing that
she helped our grandmother get things done at her church for weekly events. Sakoya has also been a
blessing in my nephews lives, she tutored them taught them all the dances as when they were younger.
It’s bringing tears to my eyes as I’m reminiscing about joy Sakoya is to our family, because of Sakoya’s
tutoring my nephews have been very successful in life. My nephew Shamar works for Microsoft and my
nephew Dylan attends NC A&T. I remember a time when my nephew was going through a stage of being
rebellious and not listening to his parents he was in college just doing everything to go down the wrong
path and Sakoya picked him up and drove him from ATL to NY but they she stopped to see me in
Maryland so I could talk some sense into my nephew. Because of that Shamar now works for Microsoft
with offer on the table from large banking companies because he is going into finance now. We have
Sakoya to thank for that because she showed them education is cool. I’ve always know Sakoya would be
a great mother when ever she had children. I haven’t had the opportunity to meet Sakoya’s daughter yet
because of the distance between where both live but when I talk to Sakoya and            is around I can
hear the love and knowledge she pours into her daughter. I’m here hoping this trip down my memory
lane will help Sakoya get back home.
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                                                                                          Bridgeport, CT
                                                                                                  06604
                                                                                               6/1/2023
Dear U.S. District Judge Furman,
          I, Rona Campbell, have known Sakoya Blackwood for the past 4 years, from 2019 to 2023. We
lived in the same house in the Bronx, New York, but in different apartments. Sakoya has been a very
good friend to me, like a sister. She helped me with my autistic son from time to time when he had an
outburst. Sakoya has a daughter that she took excellent care of. Her daughter was always clean and
tidy, her hair was always done nicely and her daughter was always respectful. Sakoya took her daughter
to and from school everyday and helped her with her homework after school. Overall, she is a person
that does everything for her daughter, from doctors appointments to school appointments, parent
teachers conferences and so forth. She was a very loving and caring mom not only to her daughters, but
to others as well. Most of the time I spent with Sakoya were the times that she helped me with my son
or late evenings when he was sleeping. When he was sleeping, we would sit, talk and laugh together.
          I miss her greatly. I cannot imagine how much more her daughter misses her than I do. Her
daughter is missing her mom helping her with homework, taking her to and from school, showing up for
parent teacher conferences, cooking and cleaning for her, holding and hugging her, kissing her, and
giving her all the support that she needs to grow up. I know her grandma is doing an excellent job taking
care of her granddaughter, but nothing can come close to the care of a mother to her child.
          Sakoya does care for others. I remember when I was moving and had no help. She rented a truck
and helped me move my things to the storage. I will never forget how kind she was to me. Please Judge
Furman, I am asking you to grant leniency towards her and give her a second chance to reunite with her
daughter so she can continue to take good care of her. I am a mother myself with two daughters. I
cannot imagine what it would be like to be separated from them. When I was with her, she was a very
calm and loving person towards her daughter and others. I am not only asking you to give her a second
chance, I am begging you to give her a second chance to raise her daughter. Everything I have said is the
truth, I can be contacted at the above address if needed to I am hping and praying that Sakoya’s
daughter will get a chance to be reunited with her loving mom, and mom will get a second chance to
care for her daughter once more.

With many thanks,

Rona Campbell
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